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IN THE UNITED STATES DISTRICT COURT

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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 AUG 17 AHH_. 12

WESTERN DIVISION

 

EDWARD SMITH, as Conservator
Of SUE NELL SMITH, an
incapacitated person

Plaintiff,
vs.

KINDRED NURSING CENTER LIMITED
PARTNERSHIP d/b/a Cordova
Rehabilitation and Nursing
Center; KINDRED HEALTHCARE
SERVICES, INC.; and KINDRED
HEALTHCARE OPERATING, INC.;
NEICIE J.MCKINION, in her
capacity as Administrator of
Cordova Rehabilitation and
Nursing Center; KATHERINE A.
BERRY, her capacity as
Administrator of Cordova
Rehabilitation and Nursing
Center; FRANK D. LAMIER, in
his capacity as Administrator
of Cordova Rehabilitation and
Nursing Center; JAMES W.
FREEMAN, in his capacity as
Administrator of Cordova
Rehabilitation and Nursing
Center,

Defendants.

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05-02105 BV

 

ORDER GRANTING DEFENDANT'S MOTION FOR PROTECTIVE ORDER

 

Before the court is the August 15,

2005 motion of the

defendants, Kindred Nursing Centers Limited Partnership, et al.

(“Kindred"), pursuant to Federal Rule of Civil Procedure 26(c)(1),

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requesting that the court enter a protective order providing that

discovery' not be had. from\ individual defendants, Katherine A.

Bennett, Neicie J. McKinion, Frank D. Lamier, and James W. Freeman.

This motion. was referred. to the United States Magistrate for

determination. For the following reasons, the motion is granted.
BACKGROUND

On March 4, 2005, the plaintiff, Edward Smith, filed a motion
for remand to state court. The motion to remand is currently
pending before the court. In that motion, Smith contends that the
joinder of the individual Administrator defendants destroys the
completeness of diversity of citizenship among the parties and the
court thus lacked subject matter jurisdiction. On March 22, 2005,
Kindred filed a response opposing the motion for remand arguing
that the individual defendants were fraudulently joined.because the
complaint states no cause of action against them.

On July 15, 2005, Smith served' his first set of
interrogatories and requests for production of documents on each of
the four individual defendants. Thereafter, on August 15, 2005,
Kindred filed this motion for protective order.

ANALYSIS

Federal Rule of Civil Procedure 26(c)(1) permits the court to

issue a protective order prohibiting discovery. The rule allows

the court to “make any order which justice requires to protect a

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party or person from annoyance, embarrassment, oppression, or undue
burden or expense . . .” Fed. R. Civ. P. 26(c).

Kindred contends that regardless of the disposition of the
motion to remand and the motion to dismiss the individual
defendants, discovery from the individual defendants should not be
had at this time. If the court finds that the individual
defendants were not fraudulently joined, then the case will be
remanded to the state court. An order remanding this case to state
court would effectively deprive this court of jurisdiction to order
discovery. Alternatively, if the court finds that the individual
defendants were fraudulently joined and refuses to remand the case,
then the individuals would no longer be parties subject to the
discovery rules.

Consequently, any discovery requested from individuals who
will either not be parties to this lawsuit or who will not be under
the jurisdiction of this court would be wasteful, annoying,
oppressive, and unduly burdensome and expensive.

Furthermore, the plaintiff has no objection to Kindred's
motion for protective order. Indeed, the plaintiff has previously
requested that the court stay this matter pending resolution of his
motion for remand.

Accordingly, Kindred’s motion for protective order is granted.

Smith shall not have discovery from Katherine Bennett, Niecie J.

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McKinion, James W. Freeman, or Frank D. Lamier until resolution of
the pending motion to remand.

IT IS SO ORDERED this 16th day of August, 2005.

UM %Zd/M

DIANE K. VESCOVO
UNITED STATES MAGISTR.ATE JU'DGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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William Lee Maddux

CHAMBLISS BAHNER & STOPHEL
TWo Union Square

1000 Tallen Bldg.

Chattanooga, TN 37402

LiSa E. Circeo

WILKES & 1\/chUGH7 P.A.- Nashville
2100 WeSt End Plaza

Ste. 640

Nashville, TN

Darrell E. Baker

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

1\/1emphis7 TN 38138

Daryl J. Brand

CHAMBLISS BAHNER & STOPHEL
TWo Union Square

1000 Tallen Bldg.

Chattanooga, TN 37402

F. Laurens Brock

CHAMBLISS BAHNER & STOPHEL
TWo Union Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Brian Reddick

WILKES & MCHUGH, P.A.
425 West Capitol Avenue
Ste. 3500

Little Rock7 AR 72201

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Cameron C. Jehl

WILKES & MCHUGH- Little Rock
425 West Capitol Ave.

Ste. 3500

Little Rock7 AR 72201

T. Ryan Malone

CHAMBLISS BAHNER & STOPHEL
TWo Union Square

1000 Tallen Bldg.

Chattanooga, TN 37402

Deborah Whitt

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

1\/1emphis7 TN 38138

Honorable J. Breen
US DISTRICT COURT

